The plaintiff has submitted to the clerk an amendment to her complaint in an effort to meet a defect pointed out in a memorandum by Quinlan, J., sustaining a previous demurrer by this defendant. This amendment comes long after the time provided for filing such pleading in the Rules of Practice (Practice Book [1934] § 86).
The amendment sets up no cause of action not included in the complaint to which a demurrer has been sustained. It repeats, in substance, allegations of the complaint. The defect pointed out in the memorandum referred to still is present, and in so far as the plaintiff may now attempt to rely on section 1420 of the General Statutes, Revision of 1930, no notice provided for therein is alleged to have been given.
   The demurrer is sustained upon all of its grounds.